      Case 1:18-cv-01214-PB Document 10 Filed 03/19/19 Page 1 of 7




                     UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE
_________________________________
                                   )
Olivia Karpinski,                  )
Paul Edalat,                       )
                                   )
Plaintiffs,                        )
                                   )
v.                                 ) Civil Action No.: 1:18-cv-01214-PB
                                   )
Union Leader Corporation,          )
Patricia J. Grossmith,             )
Trent Spiner,                      )
                                   )
Defendants,                        )
_________________________________ )

          REPLY OF UNION LEADER CORPORATION,
  PATRICIA J. GROSSMITH, AND TRENT SPINER TO PLAINTIFFS’
     OBJECTION TO THE MOTION TO DISMISS COMPLAINT

      In accordance with the relevant provisions of Local Rule 7.1(e)(1) the

defendants Union Leader Corporation, Patricia J. Grossmith, and Trent Spiner, by

and through counsel, submit this Reply to the Plaintiffs’ Objection to the Motion

to Dismiss Complaint. In New Hampshire,

             [f]or the fair report privilege to apply, the article must
             be an accurate and complete or fair abridgment of the
             official action or proceeding. The inquiry does not
             focus upon the truth about the events that either
             underlie or are the subject of the official action or
             proceeding. In other words ‘accuracy for fair report
             purposes refers only to the factual correctness of the
             events reported and not to the truth about the events
             that actually transpired.’
       Case 1:18-cv-01214-PB Document 10 Filed 03/19/19 Page 2 of 7




Thomas v. Tel. Publ’g Co., 155 N.H. 314, 327 (2007)(internal citations and

quotations omitted). The article written by the defendant, Patricia J. Grossmith,

(hereinafter “Grossmith”), and published by the Union Leader Corporation,

(hereinafter “Union Leader”), on June 4, 2017, was a fair and accurate account of

the proceedings in the underlying civil action entitled Bruce Cahill et al v. Paul

Pejman Edalat et al, Civil Action No. SACV16-0686-AG. Furthermore, the

plaintiffs have failed to allege sufficient facts in their Complaint to show common

law malice and defeat the protection of the fair report privilege. Consequently, the

article was subject to the protections of the fair report privilege. The arguments

set forth in the plaintiffs’ Objection to the Motion to Dismiss Complaint are

without merit and therefore the plaintiffs’ Complaint should be dismissed in its

entirety.

       The fair report privilege explained in the Restatement (Second) of Torts

§611 (1977) is explicitly recognized in New Hampshire as a valid privilege to the

claim of defamation. Hayes v. Newspapers of New Hampshire, 141 N.H. 464,

466 (1996). The Restatement (Second) of Torts §611 (1977) states that:

              The publication of defamatory matter concerning
              another in a report of an official action or proceeding
              or of a meeting open to the public that deals with a
              matter of public concern is privileged if the report is
              accurate and complete or a fair abridgment of the
              occurrence reported.




	                                        2	  
       Case 1:18-cv-01214-PB Document 10 Filed 03/19/19 Page 3 of 7




The plaintiffs’ argument that the fair report privilege does not apply in this case

because the article did not report on an official action of a judicial proceeding is

without merit. Furthermore, the plaintiffs’ argument that the fair report privilege

does not apply in this case because the article is not complete and accurate or a fair

abridgement of the proceedings is without merit.

       Despite the plaintiffs’ unfounded assertions the June 4, 2017, article was

not a “hit piece” “aimed to smear” the plaintiffs. The June 4, 2017, article was a

fair and accurate account of the proceedings in the underlying civil action

commenced in California against the plaintiffs. Comment f of the Restatement

(Second) of Torts §611 states as follows:

              The rule stated in this Section requires the report to be
              accurate. It is not necessary that it be exact in every
              immaterial detail or that it conform to that precision
              demanded in technical or scientific reporting. It is
              enough that it conveys to the persons who read it a
              substantially correct account of the proceedings.

              Not only must the report be accurate, but it must be
              fair. Even a report that is accurate so far as it goes
              may be so edited and deleted as to misrepresent the
              proceeding and be misleading. Thus, although it is
              unnecessary that the report be exhaustive and
              complete, it is necessary that nothing be omitted or
              misplaced in such a manner as to convey an
              erroneous impression to those who hear or read it, as
              for example a report of the discreditable testimony in a
              judicial proceeding and a failure to publish the
              exculpatory evidence, or the use of a defamatory
              headline in a newspaper report, qualification of which
              is found only in the text of the article. The reporter is
              not privileged under this Section to make additions of
              his own that would convey a defamatory impression,
              nor to impute corrupt motives to any one, nor to indict


	                                        3	  
       Case 1:18-cv-01214-PB Document 10 Filed 03/19/19 Page 4 of 7




               expressly or by innuendo the veracity or integrity of
               any of the parties.

               It is not always necessary that the entire proceedings
               be reported at one time. However, when a newspaper
               publishes from day to day the report of a judicial
               proceeding, it may not, after reporting derogatory
               parts, fail to publish the further proceedings that tend
               to vindicate the person defamed. The fact that the
               report of one side of a trial is not as complete as that of
               the other side is a factor to be considered in
               determining whether the report, as a whole, is fair.

(emphasis added). The article is not a one sided and misleading account of the

proceedings in the California suit. The plaintiffs wholly ignore the undisputed fact

that the article states that “Attorney Saied Kashani of Los Angeles represents both

Karpinski and Edalat. He said they will prove at trial, which is slated to begin July

25, that there is no merit to the lawsuit and that Karpinski, who he describes as

junior employee, ‘was unfairly dragged’ into it.” The plaintiffs also wholly ignore

the undisputed fact that the article also states that “Kashani said his clients deny

the allegations and said the lawsuit was preemptive strike against Karpinski, who

was preparing her own lawsuit against Cahill for wrongful termination.” In sum,

the article is an accurate and fair and balanced rendition of the proceedings in the

underlying civil action in California and therefore subject to the protection of the

fair report privilege.

       The plaintiffs’ reliance on comment e of the Restatement (Second) of Torts

§611 is incomplete and misguided. Comment e of the Restatement (Second) of

Torts §611 states as follows:



	                                         4	  
       Case 1:18-cv-01214-PB Document 10 Filed 03/19/19 Page 5 of 7




              A report of a judicial proceeding implies that some
              official action has been taken by the officer or body
              whose proceedings are thus reported. The publication,
              therefore, of the contents of the preliminary pleadings
              such as a complaint or petition, before any judicial
              action has been take is not within the rule stated in
              this section. An important reason for this position has
              been to prevent implementation of a scheme to file a
              complaint for the purpose of establishing a privilege to
              publicize its content and then dropping the action (See
              Comment c). It is not necessary, however, that a final
              disposition be made of the matter in question; it is
              enough that some judicial action has been taken so
              that, in the normal progress of the proceeding, a final
              decision will be rendered. So too, the fact that the
              proceedings are ex parte rather than inter partes is
              immaterial if the matter has come officially before the
              tribunal and action has been taken in reference to it.

This is simply not a case in which the Union Leader published allegations in

preliminary pleadings without any official action. In fact between April 12, 2016,

when the Complaint was filed and June 4, 2017 when the article was published,

238 entries were made on the docket in the underlying California case, including

the Memorandum in Support of Motion to Restrain Unlawful Conduct by

Defendants and the Court’s Order referenced in the defendants’ Motion to

Dismiss. See Exhibit 1 of the Plaintiffs’ Objection to the Motion to Dismiss. At

the time of the publication of the June 4, 2017 article, the California court had

taken judicial action as it pertained to the statement that “under oath she

[Karpinski] later admitted the allegations were baseless, according to Court

records.” Therefore, the fair report privilege as articulated in Comment e of the




	                                        5	  
       Case 1:18-cv-01214-PB Document 10 Filed 03/19/19 Page 6 of 7




Restatement (Second) of Torts §611 attaches to the article even though a final

decision on the merits was not rendered.

       Finally, the Complaint is devoid of any factual allegations that would

support a plausible inference of common law malice on the part of the defendants

to defeat the fair report privilege. In New Hampshire,

               ‘to defeat the fair report privilege, a plaintiff must
              either show that the publisher does not give a fair and
              accurate report of the official statement, or malice.’
              Taken together, these two statements indicate that
              actual malice cannot defeat the fair report privilege,
              but common law malice can.

Thomas v. Tel. Publ’g Co., 155 N.H. 314, 329 (2007)(quoting Yohe v. Nugent,

321 F.3d 35, 44 (1st Cir. 2003). In New Hampshire,

              Actual malice is knowledge or reckless disregard of
              falsity. Common law malice, on the other hand, is ill
              will or intent to harm. As one court explained, actual
              malice is concerned with the publisher’s attitude
              toward the truth while common law malice is
              concerned with its attitude toward the plaintiff.

Thomas v. Tel. Publ’g Co., 155 N.H. 314, 328 (2007)(internal citations and

quotations omitted). The Complaint is devoid of any facts, short of conclusory

statements, to support a plausible inference that Union Leader published the article

with the “ill will or intent to harm” either of the plaintiffs. The plaintiffs cannot

defeat the fair report privilege by asserting malice on the part of Denterlein and

imputing that malice to Union Leader by conclusory assertion. See Thomas v. Tel.

Publ’g Co., 155 N.H. 314, 330 (2007). It is axiomatic that conclusory statements

are not sufficient to withstand a motion to dismiss. Therefore, the plaintiffs’


	                                         6	  
       Case 1:18-cv-01214-PB Document 10 Filed 03/19/19 Page 7 of 7




claims for false light invasion of privacy, defamation and all of their other claims

that are derivative of such causes of action must be dismissed.


Dated: March 19, 2019                        Respectfully submitted,
                                             Union Leader Corporation,
                                             Patricia J. Grossmith, and
                                             Trent Spiner,
                                             by their attorney,

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                                 Certificate of Service

        I, Gregory V. Sullivan, hereby certify that the foregoing Reply was served upon
the following persons on March 19, 2019, in the manner specified herein:

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